Case: 1:21-cr-00580 Document #: 9 Filed: 09/20/21 Page 1 of 1 PagelD #:22

In the United States District Court
for the Northern District of Illinois

 

United States of America, Case number 21 CR 580
Plaintiff,
Judge Kim
v.
Kelvin Dortch
Defendant.
CJA APPOINTMENT ORDER

ORDER APPOINTING COUNSEL UNDER CJA
Person represented Kelvin Dortch Under seal? [Mi] Yes [_]No
Defendant number | Representation type CC [-]
Type of person represented Adult [+] Court order ‘Appointing Counsel
Payment category Felony [-| Name of Prior Attorney

Name of appointed attorney Donna Hickstein-Foley

If associate(s) will be used, list names and rate(s) if different from the CJA hourly rate.

 

 

  

rb : Zo ,2o2 |
ssiding Judge or by Order of the Court Date °
‘inc Pro Tunc Date: 09/16/21 or |] None

 

ORDER APPOINTING INTERPRETER UNDER CJA
Prior authorization shall be obtained for services in excess of $900.

Expected to exceed $900? [] Yes [.]No
Prior authorization approved? [] Yes []No []Not applicable

 

 

Signature of Presiding Judge or by Order of the Court Date

Nunc Pro Tunc Date: or [| None

Rev. 2212019
